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 UNITED STATES DISTRICT COURT                              EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                        §
                                                 §
 versus                                          §          CASE NO. 1:15-CR-17 (4)
                                                 §
 JESSICA BELLIS                                  §



          ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

          The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

 Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

 Procedure. Judge Hawthorn conducted a hearing in the form and manner prescribed by Federal

 Rule of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty

 Plea Before the United States Magistrate Judge. The magistrate judge recommended that the court

 accept the Defendant’s guilty plea. He further recommended that the court adjudge the Defendant

 guilty on Count One of the Superseding Indictment filed against the Defendant.

          The parties have not objected to the magistrate judge’s findings. The court ORDERS that

 the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge

 are ADOPTED. The court accepts the Defendant’s pleas but defers acceptance of the plea

 agreement until after review of the presentence report.
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        It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

 magistrate judge’s findings and recommendation, the Defendant, Jessica Bellis, is adjudged guilty

 as to Count One of the Superseding Indictment charging a violation under Title 18, United States
         .
 Code, Section 1343.
        SIGNED at Beaumont, Texas, this 7th day of September, 2004.
         SIGNED at Beaumont, Texas, this 31st day of July, 2015.




                                           ________________________________________
                                                       MARCIA A. CRONE
                                                UNITED STATES DISTRICT JUDGE




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